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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                                           CASE NO.: 22-14766-BKC-SMG
                                                                        PROCEEDING UNDER CHAPTER 13

IN RE:

RALPH LEVI SANDERS, JR.
XXX-XX-6171

_____________________________/
DEBTOR

                                       NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtor is delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $801.14.

    The Debtor shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan.

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by April 18, 2024 to bring the
Debtor totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtor failure to become current or timely file a Motion to Modify, the case shall be
dismissed without further notice or hearing.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Delinquency
was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 4th day of March 2024.

                                                                   /s/ Robin R. Weiner
                                                                   _____________________________________
                                                                   ROBIN R. WEINER, ESQUIRE
                                                                   STANDING CHAPTER 13 TRUSTEE
                                                                   P.O. BOX 559007
                                                                   FORT LAUDERDALE, FL 33355-9007
                                                                   TELEPHONE: 954-382-2001
                                                                   FLORIDA BAR NO.: 861154
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                                                                          2     OF DELINQUENCY
                                                                      CASE NO.: 22-14766-BKC-SMG

                                     SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
RALPH LEVI SANDERS, JR.
561 SW 60 AVE.
PLANTATION, FL 33317
